                                                       ~J.n_J., ~ I L-
                                                      S-u"rea U of Prisons
                                                       Health Services
                                                      Clinical Encounter
Inmate Name: MORGAN , RONNIE                                                                     Reg#: 20126-057
Date of Birth : 04/30/1959                             Sex:      M   Race: AMERICAN              Facility: BUT
Encounter Date: 06/30/2021 09 :51                      Provider: Beyer, Sara M.D.                Un it:    F01


Chronic Care - Chronic Care Clinic encounter performed at Health Services.
SUBJECTIVE:
    COMPLAINT 1                 Provider:   Beyer, Sara M.D .
       Chief Complaint: Chronic Care Clinic
       Subjective:   IM is in Chronic care and his main problems are:
                     *Endocrine/Lipid - IM is on Atorvastatin 40 mg per day, last lipid panel reviewed with inmate.
                     His total cholesterol was 208 , Triglycerides 221 , HDL 31 , and LDL 131 . IM states since his
                     back has been bothering him he has not been exercising like he should . He is doing some
                     walking at varying speeds for exercise. He states he will try to increase his walking since his
                     lipid panel is not at goal. He is on atorvastatin 40 mg per day. We discussed his diet and
                     exercise and made recommendations .
                     *Ortho - IM has chronic low back pain and states his exercising has helped some, as well as
                     the medications . He is on Naproxen 500 mg twice daily, but is not on acetaminophen . He
                     also has Gout and is on allopurinol 100 mg per day to prevent flares . He also tries to follow a
                     low purine diet. He is due for another Uric acid . He denies any recent hot/erythematous joints .
                     *General - IM also has problems with chronic constipation and has transient abdominal pain .
                     He was sent to OSH with severe abdominal pain and was diagnosed with severe cramps and
                     spasms . He states the medication for the cramps did not help so he stopped taking it and is
                     no longer on his drug list. He is on Bisacodyl 10 mg twice daily, Dulcorated Sodium 100 mg
                     twice daily, and lactulose 10 gm (15 ml ) twice daily, and Senna 8.6 mg twice daily and states
                     this combination has been helping . He denies diarrhea or unrolled stools . He is also trying to
                     exercise and drink more fluids .
       Pain:         Yes
       Pain Assessment
         Date:                       06/30/2021 09 :10
         Location:                   Back-Lower
         Quality of Pain :           Aching
         Pain Scale:                 5
         Intervention :              Muscle relaxer
         Trauma Date/Year:
         Injury:
         Mechanism:
         Onset:                      2-6 Months
         Duration:                   2-6 Months
         Exacerbating Factors :      bending , sitting too long , being in any position too long (other than laying or standing) .
          Relieving Factors :        PT gave him a ball to help work out the sore spots.
          Reason Not Done :
         Comments :                  States the muscle relaxer is not really helping much
Seen for clinic(s): Endocrine/Lipid , General

ROS:
    Breasts
         General
              No: Lumps , Swelling

                     Case
Generated 06/30/2021 12:25    7:15-cr-00090-FL
                           by Beyer, Sara M.D.        Document     106-3- BUT
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      Federal                                             FMC Butner
      Bureau of                                     1000 Old Highway NC 75
      Prisons                                          Butner, NC 27509
                                                      919-575-3900 x5707
                                                                                             *** Sensitive But Unclassified***

Name MORGAN, RONNIE                        Facility FCI Butner Med I                      Collected 08/05/2020 09:26
Reg # 20126-057                            Order Unit F01-004L                            Received 08/05/2020 09:26
DOB 04/30/1959                             Provider Sara Beyer, M.D.                      Reported 08/05/2020 14:42
Sex   M                                                                                   LIS ID     211201850


                                                       CHEMISTRY
Sodium                                                   144                                136-145                  mmol/L
Potassium                                                 4.0                               3.5-5 .1                 mmol/L
Chloride                            H                     111                               98-107                   mmol/L
CO2                                                       24                                 21-32                   mmol/L
BUN                                                     9                                     7-26                 mg/dl
Creatinine                                            0.83                                 0.60-1 .30              mg/dl
eGFR (IDMS)                                           >60
 GFR units measured as ml/min/1 .73 m"2. if African American , multiply by 1.210. A calculated GFR <60 suggests a chronic
 kidney disease if found over a 3 month period .
Calcium                                                8.8                                  8.4-10.2               mg/dl
Glucose                                                89                                    70-109                mg/dl
AST                                                       21                                  5-34                     U/L
ALT                                                       29                                  8-55                     U/L
Alkaline Phosphatase                                      71                                40-140                    U/L
Bilirubin , Total                                         0.4                               0.2-1.0                  mg/dl
Total Protein                       L                     5.7                               6.4-8.3                   g/dl
Albumin                             L                    3.1                                3.5-5.0                   g/dl
Globulin                                                 2.6                                                          g/dl
Alb/Glob Ratio                                           1.19                              1.00-2.30
Anion Gap                                                 9.0                               9.0-19.0
BUN/Creat Ratio                                          11 .0                              5.0-30 .0
Uric Acid                           H                     7.3                                3.5-7 .2                mg/dl
Magnesium                                                 2.0                                1.6-3 .0                mg/dl
Iron                                                       82                                65-175                   ug/dl
TIBC                                L                     204                               237-450                   ug/dl
% Saturation                                               40                                20-50                      %
Cholesterol                                              ' 146.---...                         <200                    mg/dl
Triglycerides                                             148                                 <150                    mg/dl
HDL Cholesterol                      L                    27                                 40-60                    mg/dl
LDL Cholesterol (calc)                                    89                                  <130                    mg/dl
Chol/HDL Ratio                      H                     5.4                                0.0-4.0


                                                 SPECIAL CHEMISTRY
T4, Free                                                  0.83                             0.70-1 .80                 ng/dl
 PSA, Total                                                 0.66                             0.00-4.00                 ng/ml
  This testing method is a chemiluminescent   microparticle (CMIA) manufactured  by Abbott Laboratories and performed on the
  Architect system. Values obtained with different assay methods or kits may be different and cannot be used interchangeably.
  Test results cannot be interpreted as absolute evidence for the presence or absence of malignant disease.

    FLAG LEGEND           L=Low L!=Low Critical        H=High      H!=High Critical   A=Abnormal A! =Abnormal Critical
                                                                                                     Page 1 of 2
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    · Federal                                             FMC Butner
      Bureau of                                     1000 Old Highway NC 75
      Prisons                                          Butner, NC 27509
                                                      919-575-3900 x5707
                                                                                               *** Sensitive But Unclassified ***
Name MORGAN , RONNIE                       Facility FCI Butner Med I                       Collected 12/23/2020 06 :15
Reg # 20126-057                            Order Unit F01-004L                             Received 12/23/2020 06: 15
DOB 04/30/1959                             Provider Sara Beyer, M.D.                       Reported 12/23/2020 13:05
Sex   M                                                                                    LIS ID    211201852


                                                       CHEMISTRY
Sodium                                                    141                                136-145                  mmol/L
Potassium                                                 4.4                                3.5-5.1                  mmol/L
Chloride                                                  107                                98-107                   mmol/L
CO2                                                       24                                  21-32                   mmol/L
BUN                                                       13                                  7-26                     mg/dl
Creatinine                                               0.93                               0.60-1.30                  mg/dl
eGFR (IDMS)                                              >60
  GFR units measured as ml/min/1.73 m 11 2. if African America n, mu ltiply by 1.210. A calculated GFR <60 suggests a chronic
  kidney disease if found over a 3 month period .
Calcium                                                   8.8                                8.4-10.2                  mg/dl
Glucose                                                   95                                  70-109                   mg/dl
AST                                                        19                                  5-34                     U/L
ALT                                                        30                                  8-55                     U/L
Alkaline Phosphatase                                       74                                40-140                     U/L
Bilirubin , Total                                         0.9                                0.2-1.0                   mg/dl
Total Protein                                             6.8                                6.4-8.3                   g/dl
Albumin                                                   4.0                                3.5-5 .0                  g/dl
Globulin                                                  2.8                                                          g/d l
Alb/Glob Ratio                                            1.43                              1.00-2 .30
Anion Gap                                                 10.0                              9.0-19 .0
BUN/Great Ratio                                           14.2                               5.0-30 .0
Cholesterol                         H                     248                                  <200                    mg/dl
Triglycerides                       H                     235                                  <150                    mg/dl
HDL Cholesterol                     L                     34                                  40-60                    mg/dl
LDL Cholesterol (calc)              H                     168                                 <130                     mg/dl
Chol/HDL Ratio                      H                     7.4                                 0.0-4.0




    FLAG LEGEND           L=Low L!=Low Critical        H=High H!=High Critical       A=Abnormal A! =Abnormal Critical
                                                                                                      Page 1 of 1
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                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:       MORGAN, RONNIE                                                           Reg#:       20126-057
Date of Birth:     04/30/1959                          Sex:      M      Race:AMERICAN       Facility:   BUT
Note Date:         07/08/2020 11 :07                   Provider:  Brinkley, Jan RN          Unit:       F01


Admin Note - Community Hospital Report encounter performed at Other.
Administrative Notes:
      ADMINISTRATIVE NOTE              1         Provider:   Brinkley, Jan RN
             Presents for evaluation of right sided abdominal pain that has been worsening over the last week. Positive for
             coronavirus 2 months ago. Abd CT- Suggestive of acute cholecystitis . Presumed secondary inflammation of
             the hepatic flexure . Bili elevated at 1.3. Blood cxs pending Empirically cover with Zosyn for presumed intra-
             abdominal infection and he was given IV fluids Lactate normal , total bili 1.23 direct 0.25. Scheduled for OR
             in the AM PCR- negative today.


Copay Required : No                          Cosign Required: Yes
TelephoneNerbal Order:          No
Completed by Brinkley, Jan RN on 07/09/2020 12:12
Requested to be cosigned by Stock, Andrew M.D ..
Cosign documentation will be displayed on the following page.




Generated 07/09/2020 12:12 by Brinkley, Jan RN          Bureau of Prisons - BUH                               Page 1 of 1
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                                                    Bureau of Prisons
                                                     Health Services
                                                    Clinical Encounter
Inmate Name: MORGAN , RONNIE                                                                    Reg#: 20126-057
Date of Birth:  04/30/1959                               Sex:      M   Race : AMERICAN          Facility: BUT
Encounter Date : 07/08/2020 07 :55                       Provider: Beyer, Sara M.D.             Unit:     F0 1


Physician - Sick Call Note encounter performed at Health Services .
SUBJECTIVE :
    COMPLAINT 1                 Provider:   Beyer, Sara M.D .
      Ch ief Complaint: Abdominal Pain
      Subjective:    IM presents to sick call. He states he has been having abdominal pain since last Wednesday.
                     He was seen by MLP who felt it was secondary to constipation and gave him some stool
                     softener and suppositories and that is not relieving the pain . He states he feels like he is
                     backed up to the top of his stomach. IM states he has been fighting this for a week. He
                     states he took the pills he was given for constipation and had a little bit of movement, but feels
                     he is still stopped up. He denies any history of problems with gallbladder or liver in the past.
                     IM states he feels really tired , he states he did not sleep last night as the pain kept him awake .
                     Last BM was this AM and was watery and no bleeding , He states he is belching a little bit
                     more but not much . He states he gagged some this AM but no vom iting .
      Pain:          Yes
      Pain Assessment
        Date:                        07/08/2020 08 :05
         Location :                  Abdomen-RLQ
         Quality of Pain :           Aching
         Pain Scale:                 7
         Intervention :              Has been taking stool softeners
         Trauma Date/Year:
         Injury:
         Mechanism:
         Onset:                      1-2 Weeks
         Duration :                  1-2 Weeks
         Exacerbating Factors:       Eating something , walking
         Relieving Factors :         Water
         Reason Not Done:
         Comments:                   Pain can be sharp at time , states it is also a nagging pain . Pain ranges 4-10 .
ROS:
   General
         Constitutional Symptoms
              Yes : Chills , Easily Tired , Fatigue, Insomnia, Night Sweats, Weakness
                No: Fever
    lntegumentary
         Skin
                No: Hives , Pruritus , Rashes
    HEENT
         Eyes
                No: Blurred Vision , Changes in Vision
         Head
                Yes: Headaches (Frequency: Mainly at night)
                      Case
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                           by Beyer, Sara M.D.       Document     106-3- BUTFiled 12/02/21 Page 5 of 7
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Inmate Name: MORGAN , RONNIE                                                                  Reg#: 20126-057
Date of Birth: 04/30/1959                               Sex:      M   Race: AMERICAN          Facility: BUT
Encounter Date: 07/08/2020 07:55                        Provider: Beyer, Sara M.D.            Unit:     F01

ROS:
            No: Migraine
         Neck
            No: Pain, Stiffness
         Nose
            No: Epistaxis , Nasal Congestion
         Throat
            No: Dysphagia , Tonsillitis
         Sinuses
             No: Pain Over Sinus - Frontal, Pain Over Sinus - Maxillary, Sinus Congestion
   Cardiovascular
         General
            Yes:Cough
             No: Angina , Edema
   Pulmonary
         Respiratory System
             Yes: Cough - Dry
             No: Cough - Productive, DOE
   GI
         General
             Yes: Abdominal Pain or Colic, Appetite Changes, Appetite Loss , Constipation, Nausea
             No: Blood in Stools, Diarrhea, Dyspepsia , Dysphagia , Flatulence, Heartburn, Hx of PUD , Vomiting
   GU
         General
             No: Dysuria , Hematuria
   Musculoskeletal
         General
             No: Arthritis, Muscle Aches , Muscular Weakness
    Endocrine
         General
             Yes : Excessive Sweating
             No: Exophthalmos, Hx of Diabetes, Hx of Thyroid Ox, Intolerance to HeaUCold , Palpitations, Polydipsia

OBJECTIVE:
Temperature:
    Date           Time           Fahrenheit       Celsius Location              Provider
    07/08/2020     07:30 BUX              97 .7         36 .5                    Beyer, Sara M.D .

Pulse:
    Date                          Rate Per Minute          Location              Rhythm      Provider
    07/08/2020 07 :30 BUX                         119                                        Beyer, Sara M.D .

Respirations:
    Date               Time               Rate Per Minute Provider
    07/08/2020         07:30 BUX                           20 Beyer, Sara M.D.

Blood Pressure:

                      Case
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                                                      Bureau of Prisons                                           Page 2 of 4
                                              Bureau of Prisons
                                               Health Services
                                   Clinical Encounter - Administrative Note
Inmate Name:        MORGAN, RONNIE                                                         Reg#:       20126-057
Date of Birth:      04/30/1959                        Sex:      M     Race:AMERICAN        Facility:   BUT
Note Date:          04/24/2020 10:22                  Provider:  Beyer, Sara M.D .         Unit:       F08


Adm in Note - Orders encounter performed at Health Services .
Administrative Notes:
     ADMINISTRATIVE NOTE              1          Provider: Beyer, Sara M.D .
             IM with positive Covid 19 exposure so swab done 4/23/20


ASSESSMENTS:

SuspecUprobable COVID-19 case, U07.2 - Current
New Laboratory Requests:
    Details                                               Frequency              Due Date              Priority
    Lab Tests-C-COVID-19 Novel Coronavirus                One Time               04/25/2020 00:00      Routine
        Additional Information:
                 IM with positive Covid 19 exposure so swab done 4/23/20

Copay Required: No                           Cosign Required: No
TelephoneNerbal Order:          No
Completed by Beyer, Sara M.D . on 04/24/2020 10:24




Generated 04/24/2020 10:24 by Beyer, Sara M.D.         Bureau of Prisons - BUT                              Page 1 of 1
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